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 6
 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR06-149 RSM
                                 )
12           v.                  )
                                 )
13                               )                DETENTION ORDER
    MARCEL RODRIGUEZ-            )
14 ZURITA,                       )
    a/k/a Jenny,                 )
15 a/k/a Yency Gonzalez-Quesada, )
                                 )
16               Defendant.      )
   ______________________________)
17
     Offense charged:
18
              Count I:      Conspiracy to Distribute Heroin and Cocaine, in violation of Title
19
                            21 U.S.C., Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B) and 846.
20
     Date of Detention Hearing: June 29, 2006
21
              The Court, having conducted an uncontested detention hearing pursuant to Title
22
     18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
23
     detention hereafter set forth, finds that no condition or combination of conditions which the
24
     defendant can meet will reasonably assure the appearance of the defendant as required and
25
     the safety of any other person and the community. The Government was represented by
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     DETENTION ORDER
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 1 Sarah Vogel. The defendant was represented by Courtney Knudsen.
 2      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 3          (1)   There is probable cause to believe the defendant committed the drug
 4                offense. The maximum penalty is in excess of ten years. There is
 5                therefore a rebuttable presumption against the defendant’s release based
 6                upon both dangerousness and flight risk, under Title 18 U.S.C. §
 7                3142(e).
 8          (2)   Nothing in this record satisfactorily rebuts the presumption against
 9                release:
10                (a)    Defendant admitted to being in the county illegally. She is a
11                       citizen of Columbia with no ties to the Western District of
12                       Washington.
13                (b)    Her criminal history includes an outstanding warrant for failing to
14                       appear and defendant is associated with four aliases and two dates
15                       of birth.
16          (3)   Defendant stipulates to detention.
17          (4)   Based upon the foregoing information, which is consistent with the
18                recommendation of U.S. Pre-trial Services, it appears that there is no
19                condition or combination of conditions that would reasonably assure
20                future Court appearances and/or the safety of other persons or the
21                community.
22          It is therefore ORDERED:
23          (l)   The defendant shall be detained pending trial and committed to the
24                custody of the Attorney General for confinement in a correction facility
25                separate, to the extent practicable, from persons awaiting or serving
26                sentences or being held in custody pending appeal;

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 1         (2)   The defendant shall be afforded reasonable opportunity for private
 2               consultation with counsel;
 3         (3)   On order of a court of the United States or on request of an attorney for
 4               the Government, the person in charge of the corrections facility in which
 5               the defendant is confined shall deliver the defendant to a United States
 6               Marshal for the purpose of an appearance in connection with a court
 7               proceeding; and
 8         (4)   The clerk shall direct copies of this order to counsel for the United
 9               States, to counsel for the defendant, to the United States Marshal, and to
10               the United States Pretrial Services Officer.
11         DATED this 29th day of June, 2006.
12
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14
                                                    A
                                                    MONICA J. BENTON
15                                                  United States Magistrate Judge

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     DETENTION ORDER
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